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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 22-cv-22538-ALTMAN/Reid

  PIERCE ROBERTSON et al, on behalf
  of himself and others similarly situated,

         Plaintiff,

  v.

  MARK CUBAN and DALLAS
  BASKETBALL LIMITED, d/b/a Dallas
  Mavericks, et al

        Defendants.
  __________________________________/

           NOTICE OF ZOOM DISCOVERY HEARING FOR DECEMBER 20TH
         NOTICE IS HEREBY GIVEN that the Plaintiffs will raise the following three (3) discovery
  issues before Magistrate Judge Lisette M. Reid on December 20, 2022 at 3:30 p.m. The Court will
  circulate Zoom instructions via email.
                                 I.        Brief Factual Background
         In accordance with Court’s Discovery Procedures, ECF No. 60, below is the Brief Substance
  of the discovery matters to be heard. This case has been pending for over 4 months, Defendants
  moved to stay all discovery pending a ruling on their Motion to Dismiss, ECF No. 42, but that Motion
  was fully denied by Judge Altman. ECF No. 45. Defendants then moved to dismiss this action, ECF
  No. 41, relying specifically on two sworn declarations, by Defendant Mark Cuban and the Corporate
  Representative of the Dallas Mavericks. Plaintiffs contend the Mr. Cuban’s sworn Declaration may
  include possibly false information, pertinent to whether the Court has personal jurisdiction over the
  Defendants. Defendants refused to offer any of these 2 declarants for deposition, and/or provide any
  jurisdictional discovery, before Plaintiffs’ response to the Motion to Dismiss is due, see ECF Nos. 48,
  51. The Court instructed all parties to immediately raise any discovery issues before Your Honor. See
  ECF No. 59 (“Before filing any discovery motions -- including any protective-order requests -- the
  Parties must contact the chambers of Magistrate Judge Lisette M. Reid and seek her authorization.
  The Plaintiffs may thus refile these motions only with Magistrate Judge Reid’s consent.”).
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                                  II.     Brief Summary of the Discovery Issues
          The Parties have conducted numerous telephone and Zoom meetings, and have additional
  meet and confer scheduled for Monday, December 19th, but have been unable to resolve these issues:
  1. DEPOSITION OF DEFENDANT MR. MARK CUBAN:
      Plaintiffs noticed Defendant Mr. Cuban for deposition more than 2 months ago, seeking the
  deposition before the holidays. Defendants refused and would not provide any alternative dates, and
  moved to stay all discovery which was denied by Judge Altman. Plaintiffs respectfully request the
  Court allow Plaintiffs to take brief jurisdictional discovery, including the deposition of Defendant
  Mark Cuban (in that he decided to file a Sworn Statement to specifically support of the Motion to
  Dismiss), so Plaintiffs can contest those facts in their Opposition to the Motion to Dismiss and/or to
  seek leave to amend the Complaint, to include additional allegations ascertained through that
  jurisdictional discovery (that deadline is Jan. 24, 2023). ECF No. 58. Plaintiffs suggest if discovery is
  permitted, the parties can request the Court to set the current date for the response to the Motion to
  Dismiss (Jan. 3, 2023), be the same date as Amending the Complaint (Jan. 24).
  2. ENTRY OF A CONFIDENTIALITY ORDER:
          Plaintiffs provided Defendants a proposed Confidentiality Order three months ago (so this
  issue did not delay discovery), that was entered by Chief Judge Altonaga, in our related, pending
  Voyager class action case, Cassidy v. Voyager Digital Ltd, No. 21-24441-CIV-ALTONAGA/Torres.
  Defendants oppose and contend that they require a two-tiered Confidentiality Order (“Confidential”
  and “Highly Confidential/Attorneys’ Eyes Only”), but Plaintiffs believe the existing and customary
  Order is sufficient (citing caselaw from this Court, see ECF No. 48, pp. 2–4), particularly in light of
  the tendency for the “Attorneys’ Eyes Only” designation to be abused in litigation and further because
  Defendants have made no showing for the necessity of an “Attorneys’ Eyes Only” designation here.
          Defendants admit they have some responsive documents “ready to produce”, but refuse to
  do so until a Confidentiality Order is entered. Plaintiffs are briefing their Opposition to the pending
  Motion to Dismiss (due Jan. 3, 2023), which includes arguments on personal jurisdiction for which
  this discovery is relevant, and assessing whether they wish to amend the complaint (before January 24,
  2023). In denying the Defendants’ Motion to Stay, ECF No. 45, Judge Altman found Defendants have
  not made any showing of need for a “Protective Order”, but Plaintiffs agreed to the Voyager
  Confidentiality Order. Plaintiffs propose the Court enter an order adopting the Cassidy Confidentiality
  Order for use in this action, and that no “Attorneys’ Eyes Only” designation is necessary under the
  facts of this case. See 21-24441-CIV-ALTONAGA/Torres, ECF No. 42.


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  3. DEFENDANTS’ OBJECTIONS TO EACH AND EVERY DISCOVERY REQUEST:
          Defendants objected to each and every of Plaintiffs’ discovery requests.             Counsel are
  continuing to meet and confer and will meet again on Monday, December 19, 2022.


                             LOCAL RULE 7.1(a)(3) CERTIFICATION
          Pursuant to Local Rule 7.1(a)(3), Plaintiffs certifies that good faith efforts were made to resolve
  these disputes through various emails and teleconferences. The parties were unable to resolve the
  above-noted disputes, however, and respectfully require Court intervention to resolve them. In any
  event, prior to the above-noticed hearing, Parties will meet and confer again on December 19, 2022
  to seek to narrow or eliminate the issues prior to the hearing. The Parties will also continue to discuss
  the scheduled depositions of 3rd parties and Plaintiffs. prior to raising such issues before Your Honor.




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  Dated: December 16, 2022                           Respectfully submitted,

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                                                      Co-Counsel for Plaintiffs and the Class


                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed on December
    16, 2022, with the Court via CM/ECF system, which will send notification of such filing to all
    attorneys of record.

                                                By: /s/ Adam Moskowitz
                                                     Adam M. Moskowitz

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